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 AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations

                                                                                                                         DEC -1 2015
                                            UNITED STATES DISTRICT COUR
                                                  SOUTHERN DISTRICT OF CALIFORNIA                           CLER~<, u,:' :,:~-<\T:_. :~>":: ::~f~I,~.~T
                                                                                                         SOUTHE~·'.:< \..;:~,j'I-~ _,~; i ;'.-- C.I-\Lr--.J,,,NIA
                     UNITED STATES OF AMERICA                           JUDGMENT IN A CRI ........ AL CASE .ryo);['U,':Y
                                                                        (For Revocation of Probation or Supervised Release)
                                                                        (For Offenses Committed On or After November 1,1987)
                                       V.
                    ANTHONY JAMES MCGAFF (01)
                                                                           Case Number:        12CR1930-AJB

                                                                        Charles L. Rees
                                                                        Defendant's Attorney
   REGISTRATION NO.                    31996298
    D-
   THE DEFENDANT:
    [gJ      admitted guilt to violation ofallegation(s) No.   One, Two and Three
                                                               ~~~~~~-------------------------
    D was found guilty in violation of allegation(s) No.                                                 after denial of guilty.

   Accordingly, the court has aqjudicated that the defendant is guilty of the following allegation(s):

   Allegation Number                      Nature of Violation
                                          nv3, Unlawful use of a controlled substance andlor Failure to Test; VCCA (Violent Crime
                     1-3                  Control Act)




        Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
   The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
          IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
  judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
  material change in the defendant's economic circumstances.




                                                                          ON. Anthony 1. Battaglia
                                                                        UNITED STATES DIST                        JUDGE




                                                                                                                                12CR1930-AJB
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DEFENDANT:                ANTHONY JAMES MCGAFF (01)                                                Judgment· Page 2 of 2
CASE NUMBER:              12CR1930·AJB

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 NINE (9) MONTHS




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
        D    at _ _ _ _ _ _ _ _ A.M.                          on _____________________________________

       D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                           to ______________________________

 at _______________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                        12CR1930·AJB
